Case: 1:21-cv-03487 Document #: 128 Filed: 02/23/22 Page 1 of 1 PageID #:1212

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Jackie Wilson
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:21−cv−03487
                                                                   Honorable Franklin U.
                                                                   Valderrama
Administrator of the Estate of Former Chicago
Police Department Commander Jon Burge, et al.
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 23, 2022:


        MINUTE Entry before the Honorable Franklin U. Valderrama: The Court grants
Plaintiff's Unopposed Motion to Appoint and Substitute Special Representatives for
Deceased Defendants Patrick O'Hara, John Yucaitis, and Leroy Martin Sr. [108] for the
reasons stated in the motion. The Court directs the Clerk of the Court (i) to substitute
"Brian O'Hara, Special Representative of Deceased Defendant Patrick O'Hara" for
"Administrator of the Estate of Former Chicago Police Department Detective Patrick
O'Hara" as a party defendant; (ii) to substitute "Geri Lynn Yanow, Special Representative
of Deceased Defendant John Yucaitis" for "Administrator of the Estate of Former Chicago
Police Department Detective John Yucaitis" as a party defendant; and (iii) to substitute
"Anthony Schumann, Special Representative of Deceased Defendant Leroy Martin Sr."
for "Administrator of the Estate of Former Chicago Police Department Superintendent
Leroy Martin" as a party defendant. Mailed notice (axc).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
